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                               United States District Court
                               For the District of Columbia

 True the Vote, Inc.;
                                                Plaintiff,
           v.
                                                             Civil Case No. 1:13-cv-000734-RBW
 Internal Revenue Service, et al.;
                                             Defendants.


 Plaintiff’s Motion to Quash PILF’s and Foley’s Attorney’s Charging Lien

       Plaintiff, True the Vote, Inc. (“TTV”), respectfully moves this Court for an order

quashing Public Interest Legal Foundation’s (“PILF”), f/k/a ActRight Legal Foundation, and

Foley and Lardner LLP’s (“Foley”) collectively, (“Former Attorneys”),1 attorney’s charging

lien. ECF No. 142 (“Charging Lien”). This Motion is made on the grounds that the agreements

upon which Charging Lien are based have been nullified by a subsequent agreement between

TTV and Former Attorneys. Therefore, Former Attorneys’ basis for Charging Lien no longer

exists and this Court must quash Charging Lien as a matter of law.




       This Motion is based on: (1) TTV’s memorandum of points and authorities supporting

this Motion; (2) the supporting exhibits attached to TTV’s memorandum of points and

authorities supporting this Motion; (3) all of the pleadings, records, and papers filed in this



       1
         The Center for Constitutional Jurisprudence (“CCJ”) also formerly represented TTV and
is included in the collective “Former Attorneys” designation.

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action, deemed to be filed in this action, or of which this Court may take judicial notice at or

before the time of the hearing on this motion; and (4) any rulings by this Court or by the District

of Columbia Court of Appeals that relate to this action.

                               Rule 7(f) Request for Oral Hearing

       Pursuant to LcvR 7(f), TTV requests an oral hearing on this motion.

                                     Rule 7(m) Certification

       In compliance with LcvR 7(m), counsel for TTV notified counsel for the federal

Defendants (“IRS”) of their intention to file this Motion in a good faith effort to determine

whether the IRS oppose the relief sought. The IRS holds no position on this Motion. Likewise,

counsel for TTV notified counsel for PILF of their intention to file this Motion in a good faith

effort to determine whether PILF opposes the relief sought. As of the filing of this Motion, PILF

has not responded to TTV’s counsel’s notification.

       WHEREFORE, Plaintiff True the Vote, Inc. prays this Court grant Plaintiff’s Motion to

Quash PILF’s and Foley’s Attorney’s Charging Lien.




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October 21, 2020                         Respectfully submitted,
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                                    Certificate of Service

       I hereby certify that on October 22, 2020, I caused the foregoing and all attachments

thereto in the above-captioned matter to be filed under seal with the United States District Court

for the District of Columbia via the Court’s CM/ECF system. In addition, pursuant to LCvR 5.1,

I served, via email, the foregoing and all attachments thereto upon all parties.



                                                  /s/ James Bopp, Jr.

                                                  James Bopp, Jr.




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